Case they Document 100-7 Filed 08/08/23 Page 1 of 2

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123907 BOOK: 79 MRE PAGE: 453 Pages: 2
STATE OF MOWPANA VALLEY COUNTY
RECORDED: 12/1072003 41:36 KOT: ASHGNH CONT

LYNE NYQUIST CLERK AND RECORDER .
FRE: $22.00 wet Reet am soh be fake,

fo: WOAC 6 BOX 25, CLASGON, MT 59230'
ASSIGNMENT. ,
KNOW ALL MEN BY THESE PRESENTS:
That the undersigned, John Kevin Moore (the “A sgignor”), does hereby assign,

transfer and set over unto Milk River Hunting Preserve, LLC, a Moritana limited liability
a company, of 105 Baker Avenue, Whitefish, Montana 59937, its successors and assigns,
Re all of Assignor’s, right, title, estate and interest in and to a Contract For Deed dated

E October 25, 2001 under which Assignor is the purchaser of an undivided:one-balf (1/2)
interest in Teal property located in Valley County, Montana more particularly desctibed

a’ follows:
See Exhibit “A” attached hereto and incorporated by: reference.

IN WITNESS WHEREOF, the Assignor hai lictito exeouted this Assignment this

day of October, 2003.

STATE OF MONTANA

County of Flathead

= This instrument was acknowledged before me on October 2F ,2008, by John
7 Kevin Moore.

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EXHIBIT

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CT 000026

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EXHIBIT “A”

ip 25 Ni Range 41 Bast, MP
Section 28: NWI/ANWL/4
EXCEPTING THEREFROM the Railroad and Highway Right of Way described as follows:

Beginning at the Northwest Section comer of Section 28; fhence S. 209" W. a distance of 330.00 feet
along the west section line of said Section 28 fo the trae point of beginning; thence S OD09° W.
continuing along the section line a distance of 344.28 feat; thence S 71144’58” E. a distance of 1392.74
feet thence N, 0D13°32” E, along the 1/16 section line a distance of 334.88 feet; thence N'71D23718" W.
along the Highway R/W line a distance of $96.00 feet to highway station 503+00; thence N. 18036°42”
BE. a distence of 20 fect; thence N 71D 23°18" W, along the Highway R/W line a distance of 700.11 feet to
the point of true beginning,

ALSO EXCEPTING therefrom all of the lands north of the U.S, Highway No. 2 located in the
NW1/4NW 1/4 Section 28, Township 28 North, Renge 41 East, MPM. (Deed reference: Book 124 Deeda
page 852, Doc. No. 36749)

Excepting therefrom lands conveyed to the Stafe of Montana Highway Conmuission and more particularly
described in book 65 of Deeds on-pages 613-614,

Section.28: A. strip or piece of land-185 feet wide in the E1/2NW'1/4 lying between two lines parallel to
“aud distant réspeotively, 75 feet and 260 fect southwesterly, measured at right angles, from the center lins
of the main frack of the railway of the Great Northern (now Burlington Northern) Railway Company, as
now located and consiructed. (Deed reference book 63, MRE pages 27-28)

Section 29: All that part of the right of way of the railway of Great Norther, now Burlingion Northern,
lying between two lines parallel to and distant, respectively, 75 feet and 260 feet Southwesterly, measured
at right angles ftom the centerline.of the railway of the Great Northern Railway (now Burlington
Narthern) Company, as now located and constructed and extending from the Hast line of said Section 29
Northwesterly to a line drawn at a right anple to said centerline of railway at a point therein distant
Nosthvesterly 800 feet, mieabured along said centér Hine, from tis Intersection with the East line of said
Section 29, (Deed reference book 61 MRE pages 323-328)

Section 29: Lots 6, 7, 13, 15, SU2NE1/4

Section 29: Lots 1,2, 5, 8, 10, 11, NV2NEI/4 less raiiroad and highway right-of-way

Section 30: Lot 23

Situated in Valley County, Montana.

STATE OF MONTANA }

County of Valley _)

day of. 1 2003 at o’slock

Recorded at the request of.
.m, and recorded in the records of Valley County, State of Montens

Fee 5. Pd.

Valley County Clerk and Recoriler:.”

Reception No.

Deputy
After recording please return to:

Vincent G, Rieger

Law Office of Vincent G. Rieger
4 Meridian Court

Kalispell, MT.S9901

Exhibit A attached to and made a part of that certnitt Assignment dated October 2-9 , 2003, by John Kevin Moore,
as Assignor, aud Milk River Hunting Preserve, LLC, a Montana limited liability company, as Assignee,

CT 000027

